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             4
                  Attorney for Defendant, SUZANNE BARNETT
             5

             6

             7                                      UNITED STATES DISTRICT COURT

             8                                    EASTERN DISTRICT OF CALIFORNIA
             9
                                                                     *****
            10
                                                                     )
            11   UNITED STATES OF AMERICA,                           ) CASE NO. CR-F-06-0171 OWW
                                                                     )
            12           Plaintiff,                                  )
                                                                     ) STIPULATION TO CONTINUE SENTENCING
            13   vs.                                                 ) HEARING; ORDER
                                                                     )
            14   SUZANNE BARNETT, et al.,                            ) SCHED. DATE: October 20, 2008
                                                                     ) REQST. DATE: January 12, 2009
                                                                     )
            15
                          Defendant.                                 ) TIME:         9:00 A.M.
            16                                                         COURT: The Hon. Oliver W. Wanger
                 _________________________________________________

            17
                 IT IS HEREBY STIPULATED between the parties, by and through counsel for the government,
            18
                 Laurel Montoya, and Joan Jacobs Levie, counsel for Defendant SUZANNE BARNETT, that the date
            19

            20
                 established for the sentencing hearing, currently scheduled for October 20, 2008 at 9:00 a.m. in the

            21   courtroom of the Hon. Oliver W. Wanger be continued until January 12, 2009 at 9:00 a.m. in the
            22   courtroom of the Hon. Oliver W. Wanger in order to mutually resolve some sentencing issues.
            23
                 Sentencing discussions and negotiations are underway between both counsel and U.S. Probation.
            24
                 //
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                 Both counsel are aware that a sentencing evidentiary hearing might become necessary which they are
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             2   attempting to avoid if possible.

             3           DATED: October 16, 2008
             4
                                                              Respectfully submitted,
             5
                                                              /S/ Joan Jacobs Levie___
             6                                                JOAN JACOBS LEVIE
                                                              Attorney for Defendant,
             7                                                SUZANNE BARNETT
             8

             9                                                /S/ Laurel J. Montoya
                                                              LAUREL J. MONTOYA
            10                                                Assistant U.S. Attorney

            11
                                                            *****
            12
                                                              ORDER
            13

            14
                 Having read the stipulation of counsel and finding good cause,

            15   IT IS HEREBY ORDERED that the date of the sentencing proceedings will be continued in
            16   accordance with the above stipulation of counsel. The defendant is ordered to return to court for
            17
                 further proceedings on January 12, 2009.
            18
                 DATED: October 16, 2008
            19

            20
                                                      By: OLIVER W. WANGER_________
                                                            OLIVER W. WANGER
            21                                              Judge of the United States District Court

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